     Case 2:20-cv-01922-JAD-EJY Document 15 Filed 01/11/21 Page 1 of 2




 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                   ***
 4   MICHAEL TROY MOORE, et al.,                                Case No. 2:20-cv-01922-JAD-EJY
 5                   Plaintiffs,                                              ORDER
 6           v.
 7   THE STATE OF NEVADA, et al.,
 8                   Defendants.
 9

10          Before the Court are Plaintiff Michael Troy Moore’s filings titled: “Person(s) Hostile to
11   Plaintiff Intercepting Mailing from the Court and Motion for Court to Email any Mailings” (ECF
12   No. 13), and “Retaliation from Defendants & Motion to Restraint Plaintiffs & All State Actors”
13   (ECF No. 14).
14          On November 13, 2020, the Court entered a Report and Recommendation (ECF No. 5)
15   recommending that this matter be dismissed with prejudice because (1) all claims against the State
16   of Nevada and the Nevada Department of Employment, Training and Rehabilitation are futile as
17   these entities are immune from suit, and (2) there is no set of facts that would permit Plaintiff Michael
18   Troy Moore’s claims under the Americans with Disabilities Act against Governor Sisolak to
19   proceed. Id. at 5, 6, and 9. This renders Plaintiff’s filing at ECF No. 14 moot.
20          With respect to Plaintiff’s filing advising the Court “that mailings to the Plaintiff from the
21   court have been intercepted and not released to Plaintiff” (ECF No. 13 at 1), Plaintiff seeks to be
22   served by email with any documents filed in this matter by the Court. Id. at 2. Plaintiff may achieve
23   this result by completing the attached Notice Regarding Temporary Suspension of Local Rule IC 2-
24   1(c), Submission of Manual Documents by Email and returning the same to the Clerk of Court.
25          Accordingly, IT IS HEREBY ORDERED that Plaintiff’s filing titled Person(s) Hostile to
26   Plaintiff Intercepting Mailing from the Court and Motion for Court to Email any Mailings (ECF No.
27   13), is GRANTED in part and DENIED in part. Attached to this Order, as Exhibit A, is a copy of
28   the Notice Regarding Temporary Suspension of Local Rule IC 2-1(c), Submission of Manual
                                                       1
     Case 2:20-cv-01922-JAD-EJY Document 15 Filed 01/11/21 Page 2 of 2




 1   Documents by Email. This three page document includes a form that Plaintiff must complete and

 2   return by mail to the Clerk of Court if he wishes to receive future service of documents filed by the

 3   Court by email.

 4        IT IS FURTHER ORDERED that, as a one time courtesy, the Clerk of Court shall email a copy

 5   of this Order, together with Exhibit A, to Plaintiff at Moore4MayorofLasVegas@aol.com.

 6        IT IS FURTHER ORDERED that no additional documents filed by the Court shall be emailed

 7   to Plaintiff until such time as he completes and returns the Consent for Electronic Service of

 8   Documents to the Clerk of Court.

 9       IT IS FURTHER ORDERED that Plaintiff’s filing titled Retaliation from Defendants & Motion

10   to Restrain Plaintiffs & All State Actors (ECF No. 14) is DENIED as Moot.

11

12          DATED this 11th day of January, 2021.

13

14

15                                                ELAYNA J. YOUCHAH
                                                  UNITED STATES MAGISTRATE JUDGE
16

17

18
19

20

21

22

23

24

25

26

27

28
                                                     2
